                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA


UNITED STATES OF AMERICA                              )
                                                      )         Case No. 1:11-cr-57
v.                                                    )
                                                      )         COLLIER / LEE
JOHN D. WINTERS                                       )



                             REPORT AND RECOMMENDATION

       Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on January 4, 2012.

At the hearing, defendant moved to withdraw his not guilty plea to Count One of the six-count

Indictment and entered a plea of guilty to the lesser included offense of the charge in Count One,

that is of conspiracy to distribute a mixture or substance containing a detectable amount of cocaine,

a Schedule II controlled substance, in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C) in

exchange for the undertakings made by the government in the written plea agreement. On the basis

of the record made at the hearing, I find the defendant is fully capable and competent to enter an

informed plea; the plea is made knowingly and with full understanding of each of the rights waived

by defendant; the plea is made voluntarily and free from any force, threats, or promises, apart from

the promises in the plea agreement; the defendant understands the nature of the charge and penalties

provided by law; and the plea has a sufficient basis in fact.

       Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Count

One of the Indictment be granted, his plea of guilty to the lesser included offense of the charge in

Count One, that is of conspiracy to distribute a mixture or substance containing a detectable amount

of cocaine, a Schedule II controlled substance, in violation of 21 U.S.C. §§ 841(a)(1) and



Case 1:11-cr-00057-TRM-SKL           Document 29          Filed 01/09/12     Page 1 of 2     PageID
                                           #: 58
841(b)(1)(C) be accepted, the Court adjudicate defendant guilty of the lesser included offense of the

charge in Count One of the Indictment, that is of conspiracy to distribute a mixture or substance

containing a detectable amount of cocaine, a Schedule II controlled substance, in violation of 21

U.S.C. §§ 841(a)(1) and 841(b)(1)(C), and a decision on whether to accept the plea agreement be

deferred until sentencing. I further RECOMMEND defendant remain in custody until sentencing

in this matter. Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement, and

imposition of sentence are specifically reserved for the district judge.




                                               s/fâátÇ ^A _xx
                                               SUSAN K. LEE
                                               UNITED STATES MAGISTRATE JUDGE



                                      NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
of guilty in this matter. See 28 U.S.C. §636(b).




Case 1:11-cr-00057-TRM-SKL            Document 29        Filed 01/09/12       Page 2 of 2      PageID
                                            #: 59
